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                                                                                                     VITO A. GAGLIARDI, JR.
                                                                                                          MEMBER, NJ BAR
                                                                                       CERTIFIED BY THE SUPREME COURT OF
                                                                                      NEW JERSEY AS A CIVIL TRIAL ATTORNEY
                                                                                         DIRECT DIAL NO.: 973-889-4151
                                                                               E-MAIL ADDRESS: VAGAGLIARDI@PBNLAW.COM

June 27, 2022

VIA ECF

Honorable Douglas E. Arpert, U.S.M.J.
United States District Court, District of New Jersey
Clarkson S. Fisher Building & U.S. Courthouse
402 East State Street
Trenton, NJ 08608

          Re:   CC Ford Group, LLC v. Jennifer Johnson
                Civil Action No.: 3:22-cv-04143
                Our Matter No.: 024196.091100

Dear Judge Arpert:

        Please be advised that this office represents Plaintiff CC Ford Group, LLC with respect to the above-
referenced matter.

        We write, with the consent of counsel for Defendant Jennifer Johnson, pursuant to Fed. R. Civ. P.
6(b)(1)(A) and L.Civ.R. 6.1, seeking an extension of time for Plaintiff to amend the Complaint, and for the
Defendant to Answer or otherwise plead in response to same, by way of the enclosed proposed scheduling order
submitted on consent in lieu of filing a formal motion.

        The parties jointly request that the Court enter this proposed order as they are in the process of
submitting their dispute to a mediator. The timeframes set forth in this proposed order are designed to allow
for the mediation to proceed before this litigation expands. The form of the enclosed proposed consent
scheduling order has been approved by all counsel.

        We therefore respectfully request that the Court consider and enter the enclosed proposed consent
scheduling order. We can be available at Your Honor’s convenience if you have any questions or require
additional information.




                                               ATTORNEYS AT LAW

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          We appreciate Your Honor’s kind consideration.


                                                           Respectfully,



                                                           Vito A. Gagliardi, Jr.

VAG:acr
cc: All Counsel of Record (via ECF)




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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY
                                 TRENTON VICINAGE


CC FORD GROUP, LLC,                             CIVIL ACTION NO. 3:22-cv-04143

                        Plaintiff,

               v.

JENNIFER JOHNSON,                                          CONSENT ORDER
                                                         EXTENDING TIME TO
                        Defendant.                  FILE AN AMENDED COMPLAINT,
                                                    AND TO ANSWER OR OTHERWISE
                                                               MOVE




        THIS MATTER having come before the Court upon the application of Plaintiff CC Ford

Group, LLC, by and through its attorneys Porzio, Bromberg & Newman P.C., for entry of an

order pursuant to Fed. R. Civ. P. 6(b)(1)(A) and L.Civ.R. 6.1 extending the time by which

Plaintiff may file an Amended Complaint, and by which Defendant Jennifer Johnson may

answer, move, or otherwise plead in response to Plaintiff’s Complaint, and Defendant Jennifer

Johnson, through her attorneys Critchley, Kinum & Luria, LLC, having consented to the entry of

this Order: and no other parties having filed a notice of appearance or responsive pleading,

        IT IS on this                day of                       , 2022,

        ORDERED that the time within which Plaintiff CC Ford Group LLC may file an

Amended Complaint in this matter is hereby extended to be on or before August 30, 2022; and it

is further
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       ORDERED that the time within which Defendant Jennifer Johnson may answer, plead,

or otherwise move in this matter is hereby extended to be on or before September 29, 2022.




The undersigned hereby consent to the form and entry of this Order.



                                            PORZIO, BROMBERG & NEWMAN, P.C.
                                            100 Southgate Parkway
                                            Morristown, NJ 07962-1997
                                            (973) 538-4006
                                            (973) 538-5146 Fax
                                            Attorneys for Defendant
                                            CC Ford Group, LLC

Dated: June 27, 2022                  By:    s/ Vito A. Gagliardi, Jr.
                                            Vito A. Gagliardi, Jr., Esq.



                                            CRITCHLEY, KINUM & LURIA, LLC
                                            75 Livingston Avenue, Suite 303
                                            Roseland, NJ 07068
                                            Tel.: (973) 422-9200
                                            Attorneys for Defendant
                                            Jennifer Johnson

Dated: June 27, 2022                  By:    s/Amy Luria
                                            Amy Luria, Esq.




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